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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA

BRIAN S. CREIGHAN              )                       Case No:
                               )
          Plaintiff,           )
    vs.                        )                       JURY TRIAL DEMANDED
                               )
SECURITY CREDIT SYSTEMS, INC., )
                               )
          Defendant.           )

                                           COMPLAINT

                                        INTRODUCTION

       1.      Defendant operates a high volume debt collection business

       2.      Defendant engaged in unlawful and abusive acts toward Plaintiff Creighan,

including (1) conduct, the natural consequence of which is to harass, oppress, or abuse any

person; (2) making false, deceptive, or misleading representations in connection with attempting

to collect a debt; (3) threatened to take action that cannot legally be taken or that is not intended

to be taken, (4) false representations or deceptive means to collect a debt, (5) voice mail message

left on Plaintiff Creighan's phone failed to contain the warning, "[T]his is an attempt to collect a

debt ... communication is from a debt collector"; and (6) engaged in unfair or unconscionable

means to collect or attempt to collect a debt.

       3.      Defendant's conduct is part of a pattern or practice of unlawful collection abuse.

       4.      Defendant's unlawful collection practice caused Plaintiff Creighan to suffer

emotional distress in the form of anxiety, fear, worry and stress.

       5.      Plaintiff Creighan brings this action for statutory and actual damages against

Defendant pursuant to the Fair Debt Collection Practices Act, 15 U.S.C. § 1692 et seq.
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                                         JURISDICTION

       6.      This Court has jurisdiction pursuant to 28 U.S.C. §1331 and 15 U.S.C. §1692k(d).

                                            PARTIES

       7.      Plaintiff Creighan lives in Allegheny County, Pennsylvania

       8.      Plaintiff Creighan incurred a debt to S&T Bank that was for personal, family or

household purposes and therefore meets the definition of "debt" as that term is defined in 15

U.S.C. §1692a(5).

       9.      Plaintiff Creighan is a "consumer" as that term is defined in 15 U.S.C. §1692a(3).

       10.     Defendant Security Credit Systems, Inc. ("SCS") is a New York Corporation with

its principal office and place of business at 622 Main Street, Ste. 301, Theatre Place, Buffalo,

NY 14202-1929.

       11.     At all times relevant to this complaint, SCS transacted business in the Western

District of Pennsylvania.

       12.     SCS engaged in, approved of, and /or ratified the illegal conduct described herein.

       13.     SCS' employees and/or agents were acting in the scope, purpose and authority of

such agency, service, employment and/or other representative capacity with the permission,

knowledge, consent and ratification of SCS.

                                              FACTS

       14.     In June 2010, the following message was left on Plaintiff Creighan's phone:

                       This message is solely for Brian Shawn Creighan. This is regarding a
                       formal investigation. I have your name and social security number
                       attached to documents. I have to render a final decision on your behalf.
                       To resolve this matter voluntarily, contact the office of C, excuse me SCS
                       immediately at 716-882-4515 direct extension 206. Failure to return this
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                     call will be deemed as direct refusal, and they are going to fax this
                     information to your bank and employer."

                                    COUNT I
             VIOLATION OF THE FAIR DEBT COLLECTION PRACTICES ACT

       15.    Creighan repeats, re-alleges and incorporates by reference all other paragraphs

       16.    In connection with the collection of a debt, SCS violated 15 U.S.C. §§ 1692d,

1692e, 1692e(5), 1692e(10), 1692e(11) and 1692f.

                                   PRAYER FOR RELIEF

       WHEREFORE, Plaintiff Brian S. Creighan respectfully requests the following relief from

Defendant Security Credit Systems, Inc.:

              a.)    Actual damages;

              b.)    Statutory damages;

              c.)    Attorney fees;

              d.)    Costs; and

              e.)    For such other and further relief as the Court may deem just and proper.

September 28, 2010                                  Respectfully Submitted,

                                                    JEFFREY L. SUHER, P.C.

                                                    /s/ Jeffrey L. Suher
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